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                         IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, et al.,               §
                                                   §
                 Plaintiffs,                       §
                                                   §
 V.                                                §
                                                   §
                                                                  Case No. 5:21-cv-00844-XR
 GREG ABBOTT, et al.,                              §
                                                                         [Lead Case]
                                                   §
                 Defendants.                       §
                                                   §
 HARRIS COUNTY REPUBLICAN PARTY, et al.,           §
                                                   §
                 Intervenor-Defendants.            §


                                          JOINT NOTICE

        The Court recently addressed the amended scheduling order, ECF 368, vacating the May 13,

2022 close of discovery and all remaining deadlines. Minute Entry of 05/18/2022. The Court further

ordered the parties to propose a new scheduling order by June 6, 2022. Minute Entry of 06/01/2022;

see also Jnt. Mot. to Extend, ECF No. 431 (requesting extension to June 7).

        The parties met in good faith to discuss the subject on May 20, May 31, June 2, June 6, and

June 7. They have made substantial progress toward an agreed scheduling order, and jointly propose

most of the deadlines set forth below. However, the parties were unable to reach agreement on several

of the pertinent deadlines, and respectfully submit their contrasting positions to the Court. As such,

the parties propose the following schedule, subject to the specific disagreements set forth below.

                               PROPOSED AMENDED SCHEDULE

        The disposition of this case will be controlled by the following schedule. If a deadline set here

falls on a weekend or a holiday, the effective day will be the next business day.




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PRIMARY DISCOVERY PERIOD

        Joint proposal. The primary discovery period will close on August 12, 2022. Written discovery

requests are not timely if they are served so close to this deadline that under the Federal Rules of Civil

Procedure the response would not be due until after the deadline.

        Plaintiffs’ proposal. Plaintiffs propose that during this time the State may conduct depositions

of witnesses disclosed on or after April 18 and may pursue the document discovery identified in its

motion for extension of time. Intervenors may conduct nonduplicative discovery. Plaintiffs may take

discovery of witnesses disclosed by Intervenors, and may depose Christina Adkins (an employee of

the Texas Secretary of State’s Office that State Defendants previously disclosed by as a witness, but

who has been unavailable since early April), Kristi Hart (another previously disclosed employee of the

Texas Secretary of State’s Office), any witness newly disclosed by Intervenors, and any witness who

may have testimony concerning documents produced pursuant to the motion to compel responses to

legislative subpoena.

        State Defendants chose not to notice depositions of the nonparty witnesses disclosed by plain-

tiffs before April 18, 2022, well before the scheduled close of discovery, despite having ample time to

do so and with full knowledge of their identities. See also Priv. Pls. Opp. to Defs. Mot. for Extension

3-7, ECF No. 408. Plaintiffs aver that these nonparties—who have been long-known to the State

Defendants—should not be subject to renewed discovery demands. Plaintiffs’ proposal accommo-

dates State Defendants’ request to the Court and provides for symmetrical discovery henceforth.

        State Defendants’ proposal. The State Defendants oppose limiting the subject matter of their

discovery. They sought extension of trial to depose plaintiffs’ dozens of witnesses. This list includes

more than just those witnesses disclosed after April 18. Plaintiffs’ assertion that State Defendants had

“ample time” to take these depositions is flatly contradicted by the record. The State Defendants took

over thirty depositions in the discover period before the Court eventually decided to move the trial



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date. The central purpose of moving the trial is that the previous schedule did not give the parties

enough time to conduct discovery. Moreover, it is apparent that plaintiffs’ suggested limit on their

discovery is not meaningful, allowing them to take the deposition of all others who broadly “concern”

documents that may be produced pursuant to a motion the LULAC plaintiffs’ motion to compel. The

State Defendants also oppose the County Defendants’ requested limit.

        County Defendants’ proposal. The County Defendants propose that the State’s discovery in

the primary period be limited to seeking discovery from plaintiffs.

SECONDARY DISCOVERY PERIOD

        Joint proposal. Discovery will reopen on October 24, 2022. The parties agree to accommodate

reasonable extension requests made by the County Election Administrator Defendants and their per-

sonnel with respect to responding to discovery requests during the second discovery period, given the

overlap of this period with the general election and Elections Administrators’ responsibilities prior to,

during, and after the general election, as well as any possible run-off elections into December 2022.

        Plaintiffs and County Defendants’ proposal. Plaintiffs and the County Defendants propose

that the secondary discovery period relate only to the November 2022 general election or documents

produced in response to a successful motion to compel. Plaintiffs and County Defendants further

propose that Plaintiffs and Defendants may commence or reopen no more than 8 depositions per

side, absent further leave of the Court

        The extension of primary discovery from May 13 to August 12, 2022 gives all parties nearly

three months of additional discovery than originally contemplated under the amended Scheduling

Order (ECF 368). Additional plenary discovery beyond this significantly extended timeline would

likely impose unnecessary burden, uncertainty, and duplication of effort and risk further delay of trial.

Moreover, a limitation on the number of depositions during the supplemental discovery period would

appropriately limit the burden on the parties around the general election season and reflect the more



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limited nature of the discovery that needs to be completed.

        State Defendants’ proposal. The Sate Defendants do not oppose limiting discovery by the

Plaintiffs or State Defendants during the secondary period to matters relating to the November 2022

general elections. However, the State Defendants join the Intervenors’ opposition to a subject-matter

limitation to their discovery in this period. In addition, the State Defendants oppose allowing discov-

ery broadly relating to any documents produced in response to unspecified motions to compel. Such

language does not place a meaningful limit on plaintiffs’ discovery in the secondary period. The State

Defendants do not oppose discovery relating to documents produced in response to the LULAC

plaintiffs’ motion to compel, should the appeal be resolved in plaintiffs’ favor. Finally, the State De-

fendants do not believe deposition limits are appropriate in the secondary discovery period. The par-

ties previously agreed to deposition limits, see ECF 308, and those should continue to govern discovery

in this case.

        Intervenors’ proposal. Intervenors do not believe a subject-matter limitation on their discov-

ery in the secondary period is appropriate. Intervenors are still in the process of receiving the discovery

that has already been produced in this case, processing that information, and determining what dis-

covery they need to take. Intervenors will not be in a position to conduct all general discovery before

the close of the primary discovery period, and therefore oppose a subject-matter limit on their discov-

ery during the secondary period. Intervenors do not intend to conduct “plenary” discovery, but only

to conduct such additional, but limited, discovery to ensure that they be allowed to fully present their

case. Such discovery during the secondary period is necessary to accomplish that goal.

        State Defendants, Intervenors, and County Defendants proposal. The County Defendants

propose that they not be required to respond to discovery (including supplementation) during the

administration of an election and request that the following language be included in the scheduling

order: Discovery served on County Election Defendants between October 24, 2022 and November



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21, 2022 is ABATED, and County Election Defendants’ time for responding to any such served dis-

covery request[s] commences to run at the expiration of the Abatement Period.

EXPERTS

        Joint proposal. The Intervenors shall file designations of testifying experts and serve on all

parties, but not file, the material required by Rule 26(a)(2)(B) of the Federal Rules of Civil Procedure,

to the extent not already served, by October 28, 2022. Parties shall file designations of experts rebut-

ting Intervenors’ experts and serve on all parties, but not file, the material required by Rule 26(a)(2)(B)

of the Federal Rules of Civil Procedure, to the extent not already served, by November 15, 2022.

        Plaintiffs and County Defendants’ proposal. With respect to matters relating to the November

2022 general elections, all parties shall file all designations of testifying experts and serve on all parties,

but not file, the material required by Rule 26(a)(2)(B) of the Federal Rules of Civil Procedure, to the

extent not already served, by February 3, 2023, or twenty-nine days after the County Defendants pro-

duce data relating to the general elections.

        Simultaneous supplementation will allow for a consolidated filing reflecting any facts or data

from the general election. It is also consistent with the unified deadline for supplemental reports that

the Court allowed after the March 2022 primary. See ECF No. 125 at 2. State Defendants’ and Inter-

venors proposal to permit rebuttal reports to supplemental reports would both unnecessarily delay

proceedings and would give Defendants and Intervenors’ experts the final word, contrary to all prior

versions of the Scheduling Order.

        The deadline to conduct expert depositions is February 14, 2023.

        State Defendants and Intervenors’ proposal. The State Defendants and Intervenors oppose

plaintiffs’ proposal because it does not allow for a period to file rebuttal reports to the plaintiffs’

supplemental reports. The Court has uniformly allowed a period for rebuttal expert designations.

Plaintiffs’ proposed would deny the parties a fair opportunity to respond to plaintiffs’ experts. Nor



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would extending the deadline threaten to push the trial date or otherwise prejudice any party. There-

fore, the State Defendants and Intervenors propose the following dates:

          With respect to matters relating to the November 2022 general elections, all parties asserting

claims for relief shall file all designations of testifying experts and serve on all parties, but not file, the

material required by Rule 26(a)(2)(B) of the Federal Rules of Civil Procedure, to the extent not already

served, by February 3, 2023.

          With respect to matters relating to the November 2022 general elections, all parties resisting

claims for relief shall file all designations of testifying experts and serve on all parties, but not file, the

material required by Rule 26(a)(2)(B) of the Federal Rules of Civil Procedure, to the extent not already

served, by February 23, 2023.

          The deadline to conduct expert depositions is March 7, 2023.

WITNESS LIST, EXHIBIT LIST, AND PRETRIAL DISCLOSURES

          Joint proposal. The deadline for filing Rule 26(a)(3) disclosures is March 27, 2023. The dead-

line for filing objections under Rule 26(a)(3) is April 17, 2023. Any objections not made will be deemed

waived.

          State Defendants and Intervenors’ proposal. The State Defendants and Intervenors propose

that a proviso be included to ensure the parties are allowed to depose any newly disclosed witnesses.

As such, they propose the following language: Provided, however, that the parties shall be entitled to

take the deposition of any witnesses disclosed for the first time during the secondary discovery period.

COMPLETION OF DISCOVERY

          Joint proposal. The secondary discovery period will close on January 20, 2023. Written dis-

covery requests are not timely if they are filed so close to this deadline that under the Federal Rules of

Civil Procedure the response would not be due until after the deadline.




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PRETRIAL MOTIONS

       Joint proposal. No motion (other than a motion in limine) may be filed after this date except

for good cause. The deadline to file motions (including dispositive motions and Daubert motions) is

February 27, 2023. The deadline to file responses is March 13, 2023. The deadline to file replies is

March 20, 2023. Leave of court is automatically given to file motions, responses, and replies not to

exceed 30 pages in length. Rule 6(d) does not apply to the time limits set forth in Local Rule CV-7 for

responses and replies to motions.

JOINT PRETRIAL ORDER AND MOTION IN LIMINE

       Joint proposal. The deadline to file a Final Joint Pretrial Order and any motion in limine is May

1, 2023. All attorneys are responsible for preparing the joint order, which must contain the following:

   1) a short statement identifying the Court’s jurisdiction. If there is an unresolved jurisdictional
      question, state it;

   2) a brief statement of the case, one that the judge could read to the jury panel for an introduction
      to the facts and parties;

   3) a summary of the remaining claims and defenses of each party;

   4) a list of facts all parties have reached agreement upon;

   5) a list of contested issues of fact;

   6) a list of the legal propositions that are not in dispute;

   7) a list of contested issues of law;

   8) a list of all exhibits expected to be offered. Counsel will make all exhibits available for exami-
      nation by opposing counsel. All documentary exhibits must be exchanged before the final pre-
      trial conference. The exhibit list should clearly reflect whether a particular exhibit is objected
      to or whether there are no objections to the exhibit;

   9) a list of the names and addresses of witnesses who may be called with a brief statement of the
      nature of their testimony;

   10) an estimate of the length of trial;

   11) for a jury trial, include (a) proposed questions for the voir dire examination, and (b) a proposed
       charge, including instructions, definitions, and special interrogatories, with authority;



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    12) for a nonjury trial, include (a) proposed findings of fact and (b) proposed conclusions of law,
        with authority;

    13) the signatures of all attorneys; and

    14) a place for the date and the signature of the presiding judge.

FINAL PRETRIAL CONFERENCE

        Joint proposal. The Final Pretrial Conference shall be held on May 8, 2023. Motions in limine,

if any, will be heard on this date. Counsel should confer prior to this hearing on any issues raised in a

motion in limine or the Joint Pretrial Order. Any party intending to use a demonstrative exhibit should

provide the same to opposing counsel at least 3 days prior to the Final Pretrial conference so that if

any objections or issues are raised about the demonstrative exhibit, they can be addressed at the final

pretrial conference.

TRIAL

        Joint proposal. The Bench Trial Date is Monday, May 15, 2023, at 10:30 am.

        Plaintiffs’ proposal. Plaintiffs will require 10 trial days to present our affirmative case and cross

Defendants’ witnesses, absent resolution of some claims via summary judgment.

        State Defendants and Intervenors’ proposal. The State Defendants and Intervenors oppose

plaintiffs’ taking ten days to present their affirmative case and cross examine opposing witnesses. But

in any event the State Defendants and Intervenors believe they should receive the same amount of

time given to plaintiffs, whatever that amount should be.

        County Defendants’ proposal. The County Defendants propose that they not be required to

be present during the entirety of the trial. And they note that there may be runoff elections in Decem-

ber 2022 and in June 2023.




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Date: June 7, 2022                         Respectfully submitted.

KEN PAXTON                                 /s/ Patrick K. Sweeten
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                                           Deputy Attorney General for Special Litigation
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                                           COUNSEL FOR STATE DEFENDANTS



                                   CERTIFICATE OF CONFERENCE

       I certify that I conferred with counsel for the Plaintiffs, County Defendants, and Intervenor-

Defendants respecting this motion, and that they agreed to this motion’s filing. The parties do not

waive their objections to the specific disagreements stated above.

                                                       /s/ Patrick K. Sweeten
                                                       PATRICK K. SWEETEN


                                     CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically (via

CM/ECF) on June 7, 2022, and that all counsel of record were served by CM/ECF.

                                                       /s/ Patrick K. Sweeten
                                                       PATRICK K. SWEETEN




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